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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                                 x
GENE SAMIT and JOHN LANTZ,                       :   Civil Action No. 1:18-cv-07796-VEC
Individually and on Behalf of All Others         :   (Consolidated)
Similarly Situated,                              :
                                                 :   CLASS ACTION
                              Plaintiff,         :
                                                 :   NOTICE OF APPEARANCE
          vs.                                    :
                                                 :
CBS CORPORATION et al.,                          :
                                                 :
                              Defendants.
                                                 :
                                                 x



          PLEASE TAKE NOTICE THAT the undersigned hereby appears on behalf of Lead Plaintiff

Construction Laborers Pension Trust for Southern California in the above-captioned actions, and

requests that all parties serve upon the undersigned copies of all papers filed in or affecting this

action.

DATED: January 25, 2019                       ROBBINS GELLER RUDMAN
                                               & DOWD LLP
                                              MARY K. BLASY


                                                               /s/ Mary K. Blasy
                                                               MARY K. BLASY

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